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 1   ROBERT E. ATKINSON, ESQ., Bar No. 9958
     Email: robert@nv-lawfirm.com
 2
     ATKINSON LAW ASSOCIATES LTD.
 3   8965 S Eastern Ave, Suite 260
     Las Vegas, NV 89123
 4   Telephone: (702) 614-0600
     Facsimile: (702) 614-0647
 5
     Attorney for Brian D. Shapiro, Trustee
 6
                            UNITED STATES BANKRUPTCY COURT
 7                             FOR THE DISTRICT OF NEVADA
 8
     In re:                                           Case No. 18-12467-abl
 9                                                    Chapter 7
          HENRY IP,
10                                                    EX PARTE MOTION FOR ORDER
                             Debtor.                  SHORTENING TIME FOR HEARING ON
11
                                                      MOTION TO COMPEL
12
                                                      Hearing Date: N/A
13                                                    Hearing Time: N/A
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15            Chapter 7 trustee BRIAN D. SHAPIRO (“Trustee”), by and through counsel, hereby
16   moves this Court for entry of an Order Shortening Time to set an expedited hearing on the
17   Trustee’s MOTION TO COMPEL MONLEY IP-ZHENG, SIU HONG IP, AND SUK YEE IP-
18   HO TO ATTEND RULE 2004 EXAMINATIONS AND PRODUCE DOCUMENTS (DE #79)
19   (the “Motion to Compel”).
20            This motion for shortened time (“OST Motion”) requests that the Motion to Compel be
21   heard on shortened time on either July 18, 2018 at 9:30 a.m. (at the same time as the Motion
22   to Convert Case to Chapter 11, DE #54) or August 1, 2018 at 9:30 a.m. (at the same time
23   as the Motion to Quash, DE #62).
24            This OST Motion is made pursuant to Rule 9006 of the Federal Rules of Bankruptcy
25   Procedure, LR 9006, the Attorney Information Sheet for OST Motion filed
26   contemporaneously herewith, the Affidavit of Robert Atkinson, Esq. (“Atkinson Afft.”) filed
27   contemporaneously herewith, and the Motion itself.
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     The basis for this OST Motion is the following:
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          1.     The Motion to Compel seeks an order compelling Monley I-Zheng, Siu Hong Ip,
 3
     and Suk Yee Ip-Ho to attend their Rule 2004 examinations and produce the documents
 4
     identified on their subpoenas. Atkinson Afft. at ¶ 3.
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          2.     First, and most importantly, the parents (Siu Hong Ip, and Suk Yee Ip-Ho) only
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     are present here in Las Vegas on occasion. The Debtor testified at his 341 meeting that they
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     do not live at his residence, but instead they “travel around” and that they stay at the Debtor’s
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     residence only “when they are in Vegas” but otherwise are retired and “travel quite a bit”
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     including to China. The Trustee is greatly concerned that if the examinations are delayed,
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     the parents will flee the country and take an extended trip to China, to the detriment of the
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     Trustee’s inquiry into the Debtor’s financial affairs. Id. at ¶ 4.
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          3.     Second, the Debtor’s continued 341 hearing is scheduled for July 16. Because
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     both Monley and the Debtor have refused to produce Monley’s business bank statements, the
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     341 meeting will have to be continued yet again, and the Trustee seeks a court order to force
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     Monley to timely produce them pursuant to the document request made in her 2004 Exam
16
     subpoena.
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          4.     Third, the Debtor’s motion to convert the case is being heard on July 18. If the
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     Debtor files new income schedules relating to that motion (or if that motion is continued for
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     any reason), the Trustee will need the examination of Debtor’s wife (Monley Ip-Zheng) to
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     shed more light onto the Debtor’s finances relating to the household’s disposable income.
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     Moreover, the report of the process server that Monley’s workplace reported her as on “leave
22
     of absence” muddies the waters significantly. Id. at ¶ 5.
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          5.     Fourth, the Debtor’s Motion to Quash is being heard on August 1. The Trustee
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     wants the examinations to be held prior to or immediately after that hearing.
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          6.     Based upon the foregoing, it is respectfully submitted that good cause exists for
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     granting an order shortening time.
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            WHEREFORE, the Debtor respectfully requests that this Honorable Court issue an
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     order shortening time so that the Motion to Compel can be heard in a timely manner.


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     DATED: July 5, 2018                   ATKINSON LAW ASSOCIATES LTD.
 3
                                           By:         /s/ Robert Atkinson
 4                                               ROBERT E. ATKINSON, ESQ.
                                                 Nevada Bar No. 9958
 5
                                                 Attorney for Brian D. Shapiro, Trustee
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